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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR                           )   Civil Action
PRESIDENT, INC.; et al.,                      )
                                              )
               Plaintiffs,                    )
                                              )   No.: 2-20-CV-966
      v.                                      )
                                              )
KATHY BOOCKVAR; et al.,                       )
                                              )
               Defendants.                    )   Judge J. Nicholas Ranjan


                   DEFENDANT, HUNTINGDON COUNTY’S, RESPONSE
               IN OPPOSITION TO PLAINTIFFS’ MOTION FOR A SPEEDY
             DECLARATORY JUDGMENT HEARING AND EXPEDITED DISCOVERY


      Defendant, Huntington County Board of Elections, (“Huntingdon”),

by   and     through   its    undersigned     counsel,   files   this   response   to

Plaintiffs’      Motion   for    a   Speedy   Declaratory   Judgment    Hearing    and

expedited Discovery (the “Motion”). Importantly, Huntingdon does not

take the position that a speedy resolution of this matter is unwarranted.

In fact, Huntingdon          believes that it is critical that the Court bring

this matter to a final resolution sufficiently in advance of the November

3, 2020 election so that Huntingdon is able to ensure a fair and free

process. Nonetheless, the specific relief sought in Plaintiffs’ Motion

is untenable.      First, the respective Plaintiffs’ standing to assert any

or all of the claims raised in the Complaint filed in this matter are

questionable.      Huntingdon anticipates that one or more of the Defendants

will challenge certain Plaintiffs’ standing in this matter.                  Without
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standing   to   assert   a   claim   against   Huntingdon,   this   Court   cannot

entertain Plaintiffs’ requests for expedited discovery.         Second, Federal

Rule of Civil Procedure 12(a) requires that the Court give a defendant

no less than 21 days to respond to the Complaint, depending on the method

of service of the summons.      Huntingdon is entitled to an opportunity to

engage counsel to represent it in this matter and develop a strategy to

respond to the claims. Third, Plaintiffs have not sufficiently specified

the contents of their requests such that they are reasonably tailored

for expedited discovery. Further, Huntingdon is entitled to a reasonable

amount of time to review potentially responsive documents for privileged

or confidential information.          Huntingdon may be subject to various

standards and federal laws which require it to protect the identity of

individuals.    Also, much of the information sought by Plaintiffs from

each County is currently being compiled and submitted to the Pennsylvania

Department of State (the “Department”).          By law, the Department is to

compile a report and release it publicly at a date certain in the first

week of August.    Huntingdon should not be enforced to expend resources

lodging objections to written discovery and negotiating with Plaintiffs

regarding information that will soon enough be publicly available.

     Rather than grant the Plaintiffs’ Motion, which demands discovery

unlimited in scope on a truncated timeline that only works to the

detriment of Defendants, Huntingdon suggests that this Court set a

scheduling conference to address any preliminary issues and discuss a
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plan for limited expedited discovery, provided that all defendants have

been served with process.

     A. Jurisdictional issues     preclude    this   Court   from     engaging    in
        expedited discovery.
       Before the Court can proceed to expedited discovery, it must

address a basic jurisdictional issue. “If a plaintiff lacks standing,

the court lacks judicial power to entertain the claim presented.” Gariano

v. CSC Insurance Co., 845 F. Supp. 1074, 1077 (D. N. J. 1994).           As stated

in Paragraph 4 of the Complaint: “The right to vote includes not just

the right to cast a ballot, but also the right to have it fairly counted

if it is validly cast.       An individual’s right to vote is infringed if

his or her vote is cancelled by a fraudulent vote or diluted by a single

person voting multiple times.” Complaint, ¶ 4.

       Standing is claim-specific.      Plaintiffs here bring several claims

solely under federal and state constitutional provisions, namely, the

First and Fourteenth Amendments to the United States’ Constitution, and

the Equal Protection and the Free and Fair Election Clauses under the

Pennsylvania Constitution.      In essence, Plaintiffs allege that various

counties applied different policies regarding voting by mail-in ballot

and also prevented poll watchers from serving as poll watchers outside

of    their   county   of   residence   and   prevented   poll      watchers     from

participating in the canvassing of mail-in ballots. Plaintiff, the Trump

Campaign, Inc., is the principal committee for the reelection campaign

of Donald J. Trump and the Republican National Committee is the political
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committee that leads the Republican Party (together, the “Organizational

Plaintiffs”). Complaint, ¶¶ 8, 13. The Complaint also names as Plaintiffs

several     individuals,   candidates   for   various   elected   offices   and

potential poll watchers, each of whom is a qualified elector in the state

of Pennsylvania.     Complaint, ¶¶ 9, 10, 11, 12, 14, 15.     Plaintiffs Glen

Thompson, Mike Kelly, John Joyce, Guy Reschenthaler, Melanie Stringhill

Patterson, Clayton David Show, (together, the “Individual Plaintiffs”)

reside in Centre, Butler, Blair, Washington and Fayette counties. Id.

      The Complaint brings all claims on behalf of all Plaintiffs against

all Defendants. There are several issues regarding each Plaintiff’s

standing to bring claims against each Defendant:

  •   A political campaign or candidate does not have standing under the

      First or Fourteenth Amendments with respect to equal access to the

      right to vote and only has standing to challenge conduct which

      prevents the candidate from appearing on the ballot. See Pierce v.

      Allegheny Cnty. Bd. of Elections, 324 F. Supp. 2d 684 (W.D. Pa.

      2003).

  •   A national political committee likewise does not have standing

      under the First or Fourteenth Amendments with respect to equal

      access to the right to vote. Erfer v. Commonwealth, 794 A.2d 325,

      330 (Pa. 2002), abrogated on other grounds, League of Women Voters

      v. Commonwealth, 178 A.3d 737 (Pa. 2018).

      Moreover, there is no support for the notion that an elector has

standing to seek an injunction against a county board of elections in
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which the elector does not reside.        The argument under the First and

Fourteenth Amendments is that the government entity acts against the

individual to dilute the voter’s voting power and disparately treats the

voter with respect to the voter’s rights.        Only the county in which the

voter resided had jurisdiction over the voter’s ballot. Cf. Pierce v.

Allegheny Cnty. Bd. of Elections, 324 F.Supp.2d 684 W.D. Pa. 2003)

(plaintiff’s   injury   traceable   to   board   of   election’s   inconsistent

application of policy in county where plaintiffs were voters).            Other

counties’ policies do not apply to Plaintiffs who do not reside or vote

there; rather, it is the Plaintiff’s home county that applies a similar

policy inconsistently and the state which accepts and certifies of the

statewide elections that allegedly dilutes Plaintiff’s vote. Id. (“A

state must impose uniform statewide standards in each county in order

to protect the legality of a citizen’s vote”) (emphasis added).

     That Plaintiffs do not have standing to challenge inconsistencies

regarding counties in which they are not electors is demonstrated by the

notion that their claims are based solely on their rights with respect

to statewide application of the Election Code.        There is no harm to the

right to vote or violation of the Equal Protection clause when different

counties implement different policies with respect to strictly local

elections. Id. at 699.      Notably, the Individual Plaintiffs seek to

regulate each county’s elections regardless of whether they are strictly

local or statewide.     Individual Plaintiffs are not aggrieved by other
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counties’ conduct with respect to local elections in which the Individual

Plaintiffs’ cannot vote.

     Here, Plaintiffs seek to require the state and 67 different county

boards of elections to produce records generally regarding claims of

voter fraud.    Individual Plaintiffs make no specific allegations that

the counties in which they are electors (Blair, Washington, Butler,

Fayette or Center) violated the Election Code or diluted the power of

their votes.

     If any Plaintiff lacks standing, this Court lacks authority to

order expedited discovery on Plaintiffs’ behalf. Cf. Stein v. Boockvar,

2020 WL 2063470, *3 (E.D. Pa. Apr. 29, 2020) (noting that court dismissed

plaintiff’s    first   complaint   and   motion   for   preliminary   injunction

because of “threshold defects” including plaintiff’s lack of standing).

Thus, the Court should allow Defendants an opportunity to fully develop

these issues in an initial response to the Complaint via Rule 12(b)(2).

  B. The Federal Rules of Civil Procedure do not authorize the Court to
     shorten Huntingdon’s time to file a responsive pleading to the
     Complaint in the manner sought by Plaintiffs.
     This Court should deny Plaintiff’s request to require that County

file an answer to the Complaint within 14 days of service of the summons.

While rule 26(d) may allow a court to order discovery prior to the Rule

26(f) conference, Rule 12(a) does not give such discretion to modify the

time to file a responsive pleading. Under Rule 12(a), a defendant is

afforded 21 days to answer a complaint if served by summons and 60 days

if the defendant accepts service. That rule is set “unless another time
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is specified by this rule or a federal statute.” Here, Plaintiff seeks

an order requiring Huntingdon to file an answer with in fourteen days

of service of the summons and complaint. Defendants are entitled by Rule

of Court to at least 21 days.

     Further, Plaintiffs’ blind conclusion that granting their request

for expedited discovery will not cause any prejudice is without merit.

Granting the specific relief requested by Plaintiffs will indeed cause

significant prejudice and hardship to Huntingdon. Huntingdon will be

prejudiced in that Plaintiffs seek to limit the time under Fed. R. Civ.

P. 12(a) that Huntingdon has to acquire counsel, gather information, and

develop defenses before filing a responsive pleading. Plaintiffs have

had time to prepare their strategy and approach to this litigation,

having initiated this action when they were ready, and it is a basic

tenant   of   this   Court   that   Defendants   be   afforded   with   the   same

opportunity.

  C. Plaintiffs have not sufficiently identified and limited their
     requests for expedited discovery.
     Notably, Plaintiffs have failed to attach copies of or provide the

contents of the specific requests they intend to issue to Huntingdon.

Instead, they have identified 11 broad categories of information they

intend to seek.      This is far from a limited approach. W hile Plaintiffs

cite several cases which refer to the Court’s general discretion to

engage in expedited discovery once a plaintiff has shown “good cause”

to engage in such, they fail to acknowledge that when the Court does
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exercise its discretion, it must implement protections for the party

against whom discovery is sought. Temple v. Novo Nordisk, Inc., 2016 WL

5691881, 2016 U.S. Dist. LEXIS 136719 (W.D. Pa. Oct. 3, 2016) (while

court granted expedited discovery, it required the parties to meet and

confer to determine the scope of expedited discovery); Malibu Media LLC

v. Doe, 2015 U.S. Dist. LEXIS 78912, 2015 WL 3795948 (M.D. Pa. June 18,

2015) (citing other districts who have expressed concerns about the

“unavoidable ex parte nature” of a request for expedited discovery and

thus incorporating protective limitations such that plaintiff could only

serve a subpoena limited to the issue of identifying the user of the

assigned IP address).

     Plaintiffs   cannot   and   should   not   be   permitted   to   engage   in

unrestricted discovery on an expedited basis. Philadelphia Newspapers,

Inc. v. Gannett Satellite, 1998 WL 404820 (E.D. Pa. July 15, 1998)

(“Without reasonable boundaries, the court will not order time-consuming

discovery before the period prescribed in Rule 26(d)”). Further, a

“broadside not reasonably tailored to the time constraints under which

both parties must proceed or the specific issues that will be determined

at the [expedited] hearing” should be denied. Id. (quoting Irish Lesbian

& Gay Org. v. Giuliana, 918 F. Supp. 728, 730-31 (S.D.N.Y. 1996).

Plaintiffs have only identified general topics for discovery arguably

related to their claims. Plaintiffs ask the Court to give them free reign

to cover these topics and then require Huntingdon to respond within a

truncated timeline. Citing general topics for discovery, however, does
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not provide any limitations on the scope—the number of written requests,

whether Plaintiffs will want to depose every employee or individual with

information   related   to   those   topics,   whether   Plaintiffs   want   all

documents referring to certain individuals or topics, the period of time

to be covered, and the like. If Plaintiffs’ requests were truly limited,

Plaintiffs’ would have provided the specific language of the requests

for information for at least some of the intended discovery to the Court

to offer some assurance of protection for the Defendants.

  D. Requiring Huntingdon to identify and produce unspecified amounts
     of documents in a short period of time will cause undue hardship.
     The Motion indicates that Plaintiff intends to seek both written

responses and production of all non-privileged documents. Plaintiffs

have indicated that they intend to seek discovery “related to” multiple

topics, some without temporal limitations, without indicating whether

they only seek information or also documents “relating to” those topics.

Producing   this   information   could   require   extensive   searching     and

manpower. Additionally, fourteen days is not a significant amount of

time to even ascertain the universe of documents that might be responsive

to a request and then review sample documents for potential privilege,

including the attorney-client privilege or withhold documents based on

an ongoing criminal investigation, or redact information subject to a

privacy statute such as the Criminal History Records Information Act,

18 Pa. C.S.A. § 9125 et seq. (“CHRIA”), or the Driver Privacy Protection

Act, 18 U.S.C. § 2721 et seq., (“DPPA”). Huntingdon may need additional
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time to consult with federal and state agencies such as the Pennsylvania

Department of Transportation (“PENNDOT”) regarding [ANSWERING COUNTY’S]

obligations to protect individual voter and driver records.

  E. Requiring Huntingdon to produce information that the Pennsylvania
     Department of State is required by law to make publicly available
     in the beginning of August is unreasonable and unnecessary.
     Moreover,   much       of   what   Plaintiff   seeks    through   “expedited

discovery” will be publicly available on or before August 2, 2020

pursuant to 71 P.S. § 279.6, titled “Report on implementation of 2020

general primary election.” Under subsection (c), Huntingdon has until

July 17, 2020 to compile and submit information to the Department.              The

Department is then required to compile the information, issue a report

to the Pennsylvania Senate State Government Committee, and make the

report publicly available on the Department’s website. The Department

must issue the report within 60 days of the primary election, or August

2, 2020. 71 P.S. §279.6. Further, it is Huntingdon’s understanding that

one or more of the Individual Plaintiffs have submitted Right-to-Know

Law requests to one or more the Defendants to obtain the same information

referenced in the Motion.

     To require Huntingdon to review, object, and respond to detailed

written   requests   from    Plaintiffs   before    the   Department   makes   this

information publicly available as required by law is an unnecessary

expense and thus a hardship. A party responding to discovery is typically

not required to put that information in a format suitable to the

requesting party where the information is otherwise already accessible.
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To require Huntingdon to draft written responses to requests, which

Huntingdon will need to do to preserve any objections to Plaintiffs yet-

to-be-disclosed   requests,   just   to   have   the   information    released

publicly, is a waste of Huntingdon and judicial resources. Additionally,

requiring the relief sought will cause undue hardship in that it will

divert the County Defendants and the Department’s manpower resources

from its obligations to the public under 71 P.S. §279.6.

     The requests in Plaintiffs’ Motion should be denied.
     For the reasons set forth in this Response, Huntingdon request that

this Court deny Plaintiffs’ Motion for Speedy Declaratory Judgment

Hearing   and   Expedited   Discovery.    In   the   alternative,    Huntingdon

respectfully requests that this Court set a conference with all parties

and the Court to discuss a swift, but reasonable timeline to address the

                                          Respectfully submitted,

                                          GILL, McMANAMON & GHANER



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                           CERTIFICATE OF SERVICE


        I, Peter M. McManamon, certify that on July 13, 2020, I served

the foregoing document sent automatically by CM/ECF on the following

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